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                      14
                      15                       UNITED STATES DISTRICT COURT
                      16        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      17
                      18 Y.Y.G.M. SA d.b.a. BRANDY                     Case No. 2:19-cv-04618-RGK (JPRx)
                         MELVILLE, a Swiss corporation,
                      19
                                            Plaintiff,                 DEFENDANT REDBUBBLE INC.’S
                      20                                               OBJECTION AND REQUEST TO
                              v.                                       STRIKE PLAINTIFF’S REPLY IN
                      21                                               SUPPORT OF MOTION FOR
                         REDBUBBLE INC.,                               PERMANENT INJUNCTION,
                      22                                               ATTORNEY’S FEES, AND PRE-
                                            Defendant.                 JUDGMENT INTEREST
                      23                                               [ECF NO. 211]
                      24
                      25        Defendant Redbubble Inc. (“Redbubble”) respectfully files this procedural
                      26 Objection and Request to Strike Plaintiff’s Reply in Support of Motion for
                      27 Permanent Injunction, Attorney’s Fees, and Pre-Judgment Interest (ECF No. 211),
                      28 filed on August 24, 2021.


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                       1 I.      THIS COURT SHOULD STRIKE PLAINTIFF’S REPLY FOR
                       2         RAISING NEW ARGUMENT OR EVIDENCE
                       3         Plaintiff’s Reply in Support of Motion for Permanent Injunction, Attorney’s
                       4 Fees, and Pre-Judgment Interest introduces new factual contentions about a legally
                       5 separate entity – TeePublic – in violation of the “well accepted” rule “that raising of
                       6 new issues and submission of new facts in [a] reply brief is improper.” Schwartz v.
                       7 Upper Deck Co., 183 F.R.D. 672, 682 (S.D.Cal.1999) (citing Provenz v. Miller, 102
                       8 F.3d 1478, 1483 (9th Cir. 1996). Redbubble justifiably relied on the scope of facts
                       9 and legal arguments raised in Plaintiff’s original Motion (and over the course of this
                      10 case, including at trial), which made no mention of TeePublic, in filing its
                      11 Opposition (ECF. No. 210), and particularly in light of the Court’s Scheduling
                      12 Notice canceling oral argument on Plaintiff’s Motion (ECF No. 213), Redbubble has
                      13 no further opportunity to respond on the merits about this new evidence.
                      14         Ninth Circuit law is clear that a party cannot assert new arguments or include
                      15 new factual or legal contentions for the first time in a reply memorandum. See
                      16 Clark v. County of Tulare, 755 F.Supp.2d 1075, 1090 (E.D.Cal.2010) (“Reply
                      17 papers should be limited to matters raised in the opposition papers. It is improper for
                      18 the moving party to ‘shift gears’ and introduce new facts or different legal
                      19 arguments in the reply brief than presented in the moving papers.”); State of Nev.
                      20 Watkins, 914 F.2d 1545, 1560 (9th Cir. 1990), cert. denied, 499 U.S. 906, 111 S.Ct.
                      21 1105, 113 L.Ed.2d 215 (1991) (“Parties cannot raise a new issue for the first time in
                      22 their reply brief.”). Where the movant makes new arguments and factual assertions
                      23 in a reply, the court properly strikes the reply either in whole, or at least the
                      24 offending portions. See U.S. v. Romm, 455 F.3d 990, 997 (9th Cir. 2006)
                      25 (“Arguments not raised by a party in its opening brief are deemed waived.”);
                      26 accord, e.g., United States ex. rel. Giles v. Sardie, 191 F. Supp. 2d 1117, 1127 (C.D.
                      27 Cal. 2000). Plaintiff never raised TeePublic in any prior brief or during trial, and
                      28 this Court should properly strike the evidence and argument from the record. See,


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                       1 e.g., Telesign Corp v. Twilio, Inc., No. CV 15-3240 PSG (SSX), 2015 WL
                       2 12662344, at *1 (C.D. Cal. Oct. 9, 2015) (“To the extent that Defendant is correct
                       3 that Plaintiff included new facts or arguments in its Reply, the Court will not
                       4 consider those new facts or arguments.”).
                       5         Nor can Plaintiff claim that it only discovered TeePublic’s existence after it
                       6 filed its opening brief. Plaintiff’s counsel sued TeePublic in 2018, and is
                       7 knowledgeable about the company through its own Rule 11 investigation and its
                       8 pre-settlement review of TeePublic’s initial disclosures in that matter. 1 Moreover,
                       9 the Redbubble Group’s Annual Reports, which Plaintiff introduced at trial and in
                      10 opposition to Redbubble’s motion for judgment as a matter of law, reference
                      11 TeePublic. (ECF No. 199-23 at 4). Despite this, Plaintiff waited until the final brief
                      12 seeking equitable relief in this litigation to mention TeePublic, when Redbubble has
                      13 no opportunity to respond. The maxim “he who seeks equity must do equity,”
                      14 applies at least to the equitable remedy – the injunction – that Plaintiff seeks in its
                      15 Motion and Reply. Manufacturers’ Finance Cp. v. McKey, 292 U.S. 442, 449 (U.S.
                      16 1935). Therefore, Plaintiff either waived this argument or is equitably estopped
                      17 from bringing it.
                      18 II.     PLAINTIFF’S NEW ARGUMENT AND EVIDENCE ARE
                      19         IRRELEVANT BECAUSE PLAINTIFF HAS FAILED TO ESTABLISH
                      20         THAT TEEPUBLIC IS REDBUBBLE’S ALTER EGO
                      21         Plaintiff’s sole basis for introducing purported evidence regarding TeePublic
                      22 is a single conclusory statement that TeePublic is “one of Redbubble’s properties,”
                      23 implying that TeePublic is Redbubble’s “alter ego” under California law. (ECF No.
                      24 211 at 3). In California, the alter ego theory, which permits piercing the corporate
                      25
                      26   1
                          At least as early as 2018, when Plaintiff’s counsel sued TP Apparel and settled
                      27 after, inter alia, the parties exchanged initial disclosures. See, e.g., Atari Interactive,
                         Inc. v. TP Apparel, LLC et al, No. 3:18-cv-4115-JST, ECF No. 42 (Joint Case
                      28 Management Statement), at 6 (N.D. Cal., Apr. 10, 2019).


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                       1 veil in highly limited circumstances, is an equitable doctrine based on California
                       2 Civil Code 3528. See Daimler AG v. A-Z Wheels LLC, 334 F. Supp. 3d 1087, 1105
                       3 (S.D. Cal. 2018) (citing Webber v. Inland Empire Invs., 74 Cal. App. 884, 900 (Ct.
                       4 App. 1999). Plaintiff should be equitably estopped from bringing an argument
                       5 based in equity so late in this case. Further, the California Supreme Court has stated
                       6 that “the corporate form will be disregarded only in narrowly circumscribed
                       7 circumstances and only when the ends of justice so require.” Mesler v. Bragg Mgmt.
                       8 Co., 39 Cal.3d 290, 216 Cal.Rptr. 443, 702 P.2d 601, 607 (1985). Plaintiff has
                       9 failed to introduce evidence sufficient to support piercing the corporate veil, which
                      10 would be Plaintiff’s burden if this belated evidence were to be introduced. Daimler
                      11 AG v. A-Z Wheels LLC, 334 F.Supp.3d 1087, 1106 (S.D. Cal. 2018) (“Thus the
                      12 Court finds that piercing the corporate veil is not appropriate here because there are
                      13 not sufficient facts to demonstrate a unity of interest….”). Because of Plaintiff’s
                      14 failure to establish the basis for piercing the corporate veil, the Court should strike
                      15 the TeePublic evidence and argument.
                      16 III.    CONCLUSION
                      17         Plaintiff’s failure to introduce any factual contentions regarding TeePublic in
                      18 its previous filings waived its use on reply. Moreover, Plaintiff has failed to provide
                      19 any evidence or argument to justify piercing the corporate veil under California law.
                      20 Plaintiff should not be allowed to seek equity, while behaving in an inequitable way.
                      21         Plaintiff’s Reply should be constrained by the factual and legal landscape it
                      22 framed in its opening brief and on which Redbubble and the Court have relied.
                      23
                      24 Dated: September 2, 2021                     Respectfully submitted,
                      25                                   COASTSIDE LEGAL            ZUBER LAWLER LLP
                                                           KENNETH B. WILSON          JOSHUA M. MASUR
                      26                                                              JENNIFER C. KUHN
                      27                                        By: /s/ Joshua M. Masur
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